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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                       (Palm Beach Division)

                                 Case No. 9:19-CV-80633-ROSENBERG


  SECURITIES AND EXCHANGE COMMISSION,

          Plaintiff,

  v.

  NATURAL DIAMONDS INVESTMENT CO.,
  et al.,

          Defendants,

  H.S. MANAGEMENT GROUP LLC, et al.,

        Relief Defendants.
  ______________________________________________/

                     ORDER GRANTING FIRST APPLICATION FOR
                ALLOWANCE OF COMPENSATION AND REIMBURSEMENT
               OF EXPENSES TO THE RECEIVER AND HIS PROFESSIONALS

          THIS CAUSE is before the court upon the First Application of Jeffrey C. Schneider, not

  individually, but solely in his capacity as the court-appointed receiver (the “Receiver”), 1 for

  Allowance of Compensation and Reimbursement of Expenses to the Receiver and his

  Professionals [DE 133] (the “First Application”).                The Court, having reviewed the First

  Application, having been advised of the parties’ positions with respect thereto, and being otherwise

  duly advised in the premises, hereby ORDERS AND ADJUDGES as follows:

          1.       The Motion [DE 133] is GRANTED.

          2.       The Court authorizes the Receiver to make the following payments from the Argyle

  receivership bank account.



  1
    On May 16, 2019, this Court appointed Mr. Schneider as receiver for Argyle Coin, LLC [DE 20]. On July 11, 2019,
  this Court granted the Receiver’s Motion to Expand Receivership to include Natural Diamonds Investment Co. and
  Eagle Financial Diamond Group, Inc. a/k/a Diamante Atelier [DE 97, 104].
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            (a) The Receiver is authorized to pay himself compensation in the amount of

                $12,640.00; and his law firm compensation in the amount of $9,295.00 and

                reimbursement of expenses in the amount of $4,720.48 (for a total of $26,655.48).

            (b) The Receiver is authorized to pay Sallah Astarita & Cox, LLC compensation in the

                amount of $12,956.00.

            (c) The Receiver is authorized to pay Silver Law Group compensation in the amount

                of $1,580.00.

         DONE AND ORDERED in Chambers, West Palm Beach, Florida, this 9th day of

  September, 2019.

                                                    _______________________________
                                                    ROBIN L. ROSENBERG
                                                    UNITED STATES DISTRICT JUDGE
  Copies furnished to Counsel of Record
